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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


  In Re: New York City Policing During Summer 2020                 20 Civ. 8924 (CM)(GWG)
  Demonstrations


  Gray et al. v. City of New York et al.                           21 Civ. 6610 (CM)(GWG)



       STIPULATION REGARDING FILING OF SECOND AMENDED COMPLAINT

           It is hereby stipulated and agreed, by and between plaintiffs in the above matter and

intervenor-defendant the Police Benevolent Association of The City of New York, Inc. (the

"PBA"), through their undersigned counsel, that:

            I.        The PBA does not object to plaintiffs filing of a Second Amended Complaint as

annexed hereto;

            2.        The PBA's substantive response to the Second Amended Complaint is the same as

set forth in its answer to the First Amended Complaint and any new factual allegations in the

Second Amended Complaint are deemed denied; and

            3.       All affirmative defenses in the PBA's answer to the First Amended Complaint are

deemed applicable to the new pleading.

Dated: New York New York                                 Dated: New York, New York
       November   2022    tj.                                   November�14 2022


STIPULATED AND AGREED:

 WYLIE STECKLO                                          SCHLAM STONE & DOLAN LLP
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